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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA
________________________________________________
                                                       :
CHANGJI ESQUEL TEXTILE CO. LTD.,                       :
12 Lvzhou South Road                                   :
Changji, Xinjiang, China                               :
                                                       :
ESQUEL ENTERPRISES LIMITED ,                           :
13/F., Harbour Centre                                  :
25 Harbour Road                                        :
Wanchai, Hong Kong                                     :
                                                       :
ESQUEL APPAREL INC.,                                   :
14 East 33rd Street                                    :
New York, NY 10016                                     :
                                                       :
                            Plaintiffs,                :
                                                       :
                            v.                         : Civ. Action No. __________
                                                       :
GINA M. RAIMONDO, SECRETARY OF COMMERCE, :
1401 Constitution Avenue, N.W., Washington, D.C. 20230 :
                                                       :
U.S. DEPARTMENT OF COMMERCE,                           :
1401 Constitution Avenue, N.W., Washington, D.C. 20230 :
                                                       :
JEREMY PELTER, ACTING UNDER SECRETARY,                 :
BUREAU OF INDUSTRY AND SECURITY,                       :
U.S. DEPARTMENT OF COMMERCE,                           :
1401 Constitution Avenue, N.W., Washington, D.C. 20230 :
                                                       :
BUREAU OF INDUSTRY AND SECURITY,                       :
U.S. DEPARTMENT OF COMMERCE,                           :
1401 Constitution Avenue, N.W., Washington, D.C. 20230 :
                                                       :
MATTHEW S. BORMAN, DEPUTY ASSISTANT                    :
SECRETARY FOR EXPORT ADMINISTRATION,                   :
BUREAU OF INDUSTRY AND SECURITY,                       :
U.S. DEPARTMENT OF COMMERCE                            :
1401 Constitution Avenue, N.W., Washington, D.C. 20230 :
                                                       :
JOSEPH CRISTOFARO, END-USER REVIEW                     :
COMMITTEE CHAIR,                                       :
BUREAU OF INDUSTRY AND SECURITY,                       :
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U.S. DEPARTMENT OF COMMERCE                            :
1401 Constitution Avenue, N.W., Washington, D.C. 20230 :
                                                       :
                            Defendants.                :
                                                       :


            COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

       Plaintiffs Changji Esquel Textile Co. Ltd. (“CJE”), Esquel Enterprises Limited, and Esquel

Apparel Inc., by and through their attorneys, allege and state as follows:

       1.      This lawsuit seeks relief from devastating economic and reputational harms that

Defendants have inflicted on Plaintiffs in violation of U.S. law and the U.S. Constitution.

       2.      Plaintiffs are part of the Esquel group of companies (“Esquel”), an independent,

family-owned textile and apparel manufacturing business based in Hong Kong with operations

around the world, including in the United States.        Esquel has U.S.-educated leadership, a

demonstrated and independently audited commitment to fair labor and socially responsible

business practices (informed by the personal experience and commitment of its leadership to these

values), and a major U.S. and European customer base that includes clothing name brands that are

among the largest in the world. Esquel is not owned or controlled (in whole or in part) by the

Chinese government.

       3.      Towards the end of the Trump Administration, the Department of Commerce’s

Bureau of Industry and Security (“BIS”) and other Defendants summarily placed CJE on the U.S.

“Entity List,” which imposes U.S. trade restrictions on exports, reexports, and transfers of items

subject to the Export Administration Regulations (“EAR”). Defendants did so based on a wholly

false and unsubstantiated allegation: that CJE was supposedly engaging in “the practice of forced

labor involving members of Muslim minority groups in” Xinjiang, China. 85 Fed. Reg. 44,159,

44,159 (July 22, 2020).

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       4.        The appalling assertion that CJE would use, or has ever used, forced labor is

antithetical to everything Esquel stands for. Neither CJE nor any other company within Esquel

has ever engaged in the practice of forced labor in Xinjiang or anywhere else in the world. Esquel

released a public statement unequivocally rejecting the allegation the day the Trump

Administration added CJE to the Entity List,1 and also sent a letter making the same point to then-

Secretary of Commerce Wilbur Ross.

       5.        Yet the Trump Administration added CJE to the Entity List without prior notice,

without evidence, and without any opportunity for CJE to defend itself against Defendants’ odious

label—just as the Trump Administration was found to have done in several recent matters

involving other entities improperly singled out without legal or factual justification. See, e.g.,

Xiaomi Corp. v. Department of Def., No. CV 21-280 (RC), 2021 WL 950144 (D.D.C. Mar. 12,

2021); Luokung Tech. Corp. v. Department of Def., No. CV 21-583 (RC), 2021 WL 1820265

(D.D.C. May 5, 2021).

       6.        In actuality, Esquel has a thoroughly documented, independently audited, and

longstanding track record of adherence to ethical labor practices that absolutely bar any use of

forced labor, including in CJE’s operations in Xinjiang. Neither Esquel nor its major U.S. and

European customers would ever countenance forced labor practices in any of their operations or

supply chains.

       7.        CJE’s facility—like all of Esquel’s state-of-the-art, highly automated spinning

mills in Xinjiang—complies with the leading Global Organic Textiles Standard (“GOTS”), as




       1
         See Response to Changji Esquel Textile Co. Ltd. (CJE) being named by U.S. Department
of Commerce on the Entity List, ESQUEL GRP. (July 21, 2020) (“July 2020 Press Release”),
https://www.esquel.com/news/response-changji-esquel-textile-co-ltd-cje-being-named-us-
department-commerce-entity-list.

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certified following annual independent audits by Dutch-headquartered Control Union

Certifications B.V. (“Control Union”). GOTS certification mandates adherence to standards that

completely bar the use of forced labor practices, which must be verified through annual onsite

inspection by an independent, accredited third party such as Control Union. CJE has held GOTS

certification continuously since 2008; CJE’s most recent GOTS certification was renewed on

January 16, 2021.

       8.      Recent independent third-party audits of Esquel’s facilities in Xinjiang (some of

which were requested by customers who share the same commitment to socially responsible

business practices) have confirmed Esquel’s adherence to ethical labor standards barring forced

labor. For example, in May 2019—more than a year before Defendants placed CJE on the Entity

List—ELEVATE Hong Kong Holdings Limited (“ELEVATE”), a leading business risk solutions

provider headquartered in Hong Kong that is majority owned by a European private equity firm

and led by an American CEO, was commissioned by a U.S. customer to conduct an audit of CJE.

ELEVATE’s methodology included extensive observation in an on-site visit and confidential

interviews with randomly selected workers, including Uyghur and other ethnic-minority

employees. ELEVATE concluded that “[t]here was no evidence of forced, bonded or prison labor

and no evidence of coercion or exploitation.”

       9.      As ELEVATE’s audit indicates, and as many other voluntary and customer-

commissioned audits confirm, Esquel’s customers rightfully insist on workplaces free of unethical

practices, including forced labor. For Esquel, adherence to these practices is not only an absolute

moral imperative, but a business imperative as well. Indeed, given the highly sophisticated

spinning equipment used by CJE, cheap or forced labor would have no place in the CJE mill.




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       10.     Thus, the outrageous assertion that CJE used forced labor is completely contrary to

fact, and Defendants have never provided any substantiation for their false accusation.

       11.     Defendants also acted beyond their authority in placing CJE on the Entity List. The

only statutory basis for placing an entity on the Entity List is to prevent certain enumerated harms

to U.S. national security and foreign policy, including “the proliferation of weapons of mass

destruction or of conventional weapons,” “the acquisition of destabilizing numbers or types of

conventional weapons,” and even “acts of terrorism.” 50 U.S.C. §§ 4811(2)(A), 4813(a)(2). The

“illustrative list of activities” that might warrant placement on the list, set forth in the governing

regulations, similarly includes “[s]upporting persons engaged in acts of terror” and taking

“[a]ctions that could enhance the military capability of, or the ability to support terrorism of

governments that have been designated by the Secretary of State as having repeatedly provided

support for acts of international terrorism.” 15 C.F.R. § 744.11(b).

       12.     But Defendants failed to determine that CJE—which operates a highly automated

cotton spinning mill—deals in or poses a risk of dealing in items for use in the types of national

security threats described in 50 U.S.C. § 4811(2)(A). In fact, Defendants added CJE to the list

based on an entirely separate interest—specifically, alleged “human rights violations and abuses.”

85 Fed. Reg. at 44,159. Even then, and contrary to the governing regulations, Defendants failed

to offer any “specific and articulable facts” regarding CJE’s listing. 15 C.F.R. § 744.11(b).

       13.     CJE’s placement on the Entity List has been deeply stigmatizing and has led to

devastating economic consequences for Plaintiffs. The day the Trump Administration announced

CJE would be added to the Entity List, published articles characterized Esquel as having been




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“sanction[ed] . . . over human rights.”2 Those articles—which not only repeated Defendants’ false

findings about CJE, but also named many of Esquel’s major customers 3 —unsurprisingly led

several customers to notify Esquel that they would either pause or terminate business with Esquel

as a whole, including Michael Kors, Nike, Gap Inc. (for the brand Banana Republic), and PVH

(for the brands Calvin Klein and Tommy Hilfiger). Esquel also has lost U.S. and other suppliers,

and a major bank revoked a previously approved loan facility for Esquel shortly after CJE’s

placement on the Entity List.

       14.     As a result of the Entity List designation, Esquel has been forced to close its

factories in Mauritius and to severely reduce operations in Sri Lanka and China, putting thousands

of employees out of work, with harmful consequences for those individuals, their families, and

their local economies. Esquel has been forced to consider making further reductions in its global

operations and work force. The consequences are dire for the tens of thousands of workers

employed at Esquel factories, and particularly for employees working outside of China. This harm

to Esquel and its employees increases with each passing day CJE remains on the Entity List.

       15.     Beyond direct economic effects, the severe stigma associated with placement on

the Entity List has caused immediate and incalculable reputational damage to Esquel, both in the

United States and worldwide. Esquel’s reputation as a global leader in sustainable textile


       2
          Ana Swanson, U.S. Imposes Sanctions on 11 Chinese Companies Over Human Rights,
N.Y. TIMES (July 20, 2020), https://www.nytimes.com/2020/07/20/business/economy/china-
sanctions-uighurs-labor.html; see also Jeanne Whalen, U.S. sanctions additional Chinese
companies, alleging human rights violations in Xinjiang region, WASH. POST (July 20, 2020),
https://www.washingtonpost.com/business/2020/07/20/china-sanctions-uighurs-xinjiang/.
        3
          Swanson, supra note 2, (“Changji Esquel Textile Co. Ltd, also appears to have ties to
major international brands, working with Ralph Lauren, Tommy Hilfiger, Hugo Boss and
Muji[.]”); Emma Graham-Harrison & Stephanie Kirchgaessner, Apple imported clothes from
Xinjiang firm facing US forced labour sanctions, GUARDIAN (Aug. 10, 2020),
https://www.theguardian.com/technology/2020/aug/10/apple-imported-clothes-from-xinjiang-
firm-facing-us-forced-labour-sanctions.

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manufacturing, built up over many years, has been deeply tarnished by the Trump Administration’s

reckless labeling of Esquel as a company that belongs on a list targeting “acts of terrorism” and

other threats to national security. 50 U.S.C. §§ 4811(2)(A), 4813(a)(2).

       16.     Esquel sought to avoid these dire consequences, to no avail. In an earnest effort to

cooperate in good faith with the U.S. government and avoid litigation, Esquel has repeatedly

reached out to Defendants to seek the basis for CJE’s addition to the Entity List and the evidence

on which Defendants relied, and to refute the baseless allegation that CJE has engaged in the use

of forced labor. Esquel has also made clear from the outset that it will gladly take action to assure

the U.S. government that it is not engaging in any activity targeted by the Entity List. For example,

it has offered to submit to further independent audits and unannounced site visits by U.S.

government officials to interview Uyghur and other ethnic minority employees privately.

       17.     To date, however, Esquel has yet to receive any evidence supporting Defendants’

decision to single out CJE for designation on the Entity List. Further, despite seeking clarification

from BIS since September 2020, Esquel has no idea when (or if) Defendants will ever remove CJE

from the Entity List. Meanwhile, Esquel’s business, global workforce, and reputation suffer

increasing harm by the day.

       18.     Accordingly, Esquel has been left with no choice but to seek a judicial order

vacating and setting aside Defendants’ actions as ultra vires, in violation of the U.S. Constitution,

and otherwise contrary to law, as well as enjoining the Department of Commerce from

implementing or enforcing CJE’s Entity List designation.

                                 JURISDICTION AND VENUE

        19.    This Court has subject matter jurisdiction over this action under 28 U.S.C. § 1331

(federal question jurisdiction) and 28 U.S.C. § 2201 (the Declaratory Judgment Act).



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        20.    This Court has the authority to grant declaratory and injunctive relief under 28

U.S.C. §§ 2201-2202 (the Declaratory Judgment Act), 5 U.S.C. § 702 (the Administrative

Procedure Act), and the Court’s inherent equitable powers.

        21.    Venue is proper under 28 U.S.C. § 1391(b) and (e) because (i) this is a civil action

in which Defendants are federal agencies and federal officers acting in their official capacities,

(ii) a substantial part of the events or omissions giving rise to the claims occurred in the District

of Columbia, and (iii) Defendants reside in this district.

                                             PARTIES

       22.     Plaintiff Esquel Enterprises Limited (“Esquel Enterprises”), headquartered in Hong

Kong, is the operating arm of Esquel, a textile and apparel manufacturer that produces knit and

woven garments.      Founded in 1978 in Hong Kong and headquartered there, Esquel is an

independent, family-owned business with about 36,000 employees across its global operations as

of May 31, 2021. It has never been subject to any ownership, control, or direction by the Chinese

government in any of its operations in China or elsewhere, and in fact is treated as a foreign

investor in mainland China.

       23.     Plaintiff Esquel Apparel Inc. (“Esquel New York”), headquartered in New York, is

a wholly owned subsidiary of Esquel Enterprises. Esquel New York is registered to do business

in New York and Seattle, and it owns two investment properties in New York. It provides primarily

merchandising services to Esquel Enterprises, specifically in connection with Esquel Enterprises’s

U.S. customers.

       24.     Plaintiff Changji Esquel Textile Co. Ltd. (“CJE”), established in 2009, operates a

single Esquel spinning mill facility in Changji, Xinjiang. CJE’s state-of-the-art, highly automated

mill relies on a relatively small number of specially trained employees to operate its automatic



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spinning machines, as shown in a video produced by CJE’s equipment supplier.4 CJE was added

to the Entity List on July 22, 2020.

        25.     Defendant Gina M. Raimondo is the Secretary of Commerce. She is sued in her

official capacity. Section 1754 of the John S. McCain National Defense Authorization Act for

Fiscal Year 2019 (“2019 NDAA”), Pub. L. No. 115-232, 132 Stat. 1686 (as amended, codified at

50 U.S.C. § 4813(a)(2)), requires the Secretary of Commerce, in consultation with other U.S.

government officials, to “establish and maintain” the Entity List. Raimondo’s predecessor in the

Trump Administration oversaw BIS’s listing of CJE on the Entity List.

        26.     Defendant Department of Commerce is an executive agency of the United States

that, among other functions, creates and enforces export regulations, including the EAR. It

publishes and maintains the Entity List.

        27.     Defendant Jeremy Pelter is the Acting Under Secretary of the Bureau of Industry

and Security, an agency within the Department of Commerce. He is sued in his official capacity.

Pelter’s predecessor in the Trump Administration oversaw BIS’s listing of CJE on the Entity List,

which is the action at issue in this lawsuit.

        28.     Defendant Bureau of Industry and Security is an agency within the Department of

Commerce that is responsible for maintaining the Entity List.

        29.     Defendant Matthew S. Borman is the Deputy Assistant Secretary for Export

Administration within the Bureau of Industry and Security, an agency within the Department of

Commerce. He is sued in his official capacity. Borman oversaw BIS’s listing of CJE on the Entity

List, which is the action at issue in this lawsuit.




        4
          Rieter Reference Mill Video Changji Esquel, YOUTUBE (July 13, 2017),
https://www.youtube.com/watch?v=rxbsPKq5_oM.

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        30.     Defendant Joseph Cristofaro is the End-User Review Committee Chair within the

Bureau of Industry and Security, an agency within the Department of Commerce. He is sued in

his official capacity. The Committee is responsible for BIS’s continued listing of CJE on the Entity

List.

                                               FACTS

I.      Statutory and Regulatory Background

        31.     Since 1997, BIS has maintained the “Entity List,” which “identifies foreign parties

that are prohibited from receiving some or all items subject to the EAR unless the exporter secures

a license.” 5 The scope of items that are “subject to the EAR” is broad, encompassing all

commodities, software, and technology (i) of U.S.-origin, (ii) in or transiting through the United

States, and (iii) that are not U.S.-origin but either incorporate more than a de minimis amount of

certain U.S.-origin controlled content or are the direct product of certain U.S.-origin controlled

items. 15 C.F.R. § 734.3(a). Parties on the Entity List therefore face restrictions in terms of the

items and technology (whether sensitive or non-sensitive) they may receive from U.S. companies,

as well as from non-U.S. companies to the extent the items at issue are subject to the EAR.

        32.     “BIS considers that transactions of any nature with listed entities carry a ‘red flag’

and recommends that U.S. companies proceed with caution with respect to such transactions.”6

The EAR provides that, when compliance red flags are identified, exporters are expected to inquire

and conduct due diligence to resolve the red flags and ensure that the contemplated activity does



        5
              See      Entity    List,  BUREAU       OF      INDUS.      &     SEC.        (2020),
https://www.bis.doc.gov/index.php/policy-guidance/lists-of-parties-of-concern/entity-list; Lists of
Parties of Concern, BUREAU OF INDUS. & SEC. (2020), https://www.bis.doc.gov/index.php/policy-
guidance/lists-of-parties-of-concern.
        6
          Entity List FAQs, BUREAU OF INDUS. & SEC. (2020),
https://www.bis.doc.gov/index.php/policy-guidance/faqs#faq_118.

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not, in fact, violate the EAR. 15 C.F.R. Part 732, Supp. No. 3. As a result, business activity

involving any party identified on the Entity List is associated with heightened compliance risk and

administrative burden.

       33.      Numerous companies and financial institutions in the United States and elsewhere

refuse to do business with companies designated on the Entity List or their affiliates. In fact, some

U.S. companies’ compliance policies mandate cutting off business altogether with entities

designated on the Entity List.

       34.      The authority for the Entity List is found in the Export Control Reform Act of 2018,

50 U.S.C. §§ 4801-4852 (“ECRA”), which is part of the 2019 NDAA. ECRA directs the Secretary

of Commerce, “in consultation with the Secretary of State, the Secretary of Defense, the Secretary

of Energy, and the heads of other Federal agencies as appropriate,” to “establish and maintain a

list of foreign persons and end-uses that are determined to be a threat to the national security and

foreign policy of the United States pursuant to the policy set forth in section 1752(2)(A).” 2019

NDAA, Pub. L. No. 115-232 § 1754(a)(2), 132 Stat. 1636, 2213 (codified at 50 U.S.C.

§ 4813(a)(2)) (emphasis added).

       35.      Section 1752(2)(A) of the NDAA, in turn, explains that “[t]he national security and

foreign policy of the United States require” controls on exports from the United States for five

specific purposes, i.e., “[t]o control the release of items for use in—(i) the proliferation of weapons

of mass destruction or of conventional weapons; (ii) the acquisition of destabilizing numbers or

types of conventional weapons; (iii) acts of terrorism; (iv) military programs that could pose a

threat to the security of the United States or its allies; or (v) activities undertaken specifically to

cause significant interference with or disruption of critical infrastructure.”             50 U.S.C.

§ 4811(2)(A).



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       36.     As described in more detail below, BIS’s Federal Register notice of July 22, 2020

(85 Fed. Reg. 44,159) (“July 2020 Notice”) determined that CJE (and ten unrelated entities) had

allegedly “engag[ed] in activities contrary to the foreign policy interests of the United States

through the practice of forced labor involving members of Muslim minority groups in the XUAR

[Xinjiang Uyghur Autonomous Region].” 85 Fed. Reg. at 44,159. The July 2020 Notice did not

find that Esquel had engaged in acts of terrorism, weapons proliferation, or any other of the

enumerated categories set forth in 50 U.S.C. § 4811(2)(A).

II.    Esquel’s Strict And Audited Commitment To Ethical Employment Practices
       Precludes Any Use Of Forced Labor In Xinjiang Or Elsewhere

       Esquel’s Operations and Employment Practices

       37.     Esquel is an independent, family-owned business headquartered in Hong Kong. It

has about 36,000 employees across its international operations as of May 31, 2021—down from

over 54,000 employees as of December 31, 2019. Most of those employees are located in China,

Sri Lanka, and Vietnam (and, at the time of the Entity List designation, Mauritius). A global

company with facilities and management that reflect its international footprint, Esquel has key

personnel in and from all over the world, and maintains a philosophy grounded in progressive

values that include a commitment to fair labor practices.

       38.     In 2019, Esquel supplied about 110 million pieces of garments to brands around the

world. It primarily supplies major U.S. and European customers, including—prior to its placement

on the Entity List—Michael Kors, Ralph Lauren, Nike, Gap Inc. (for the brand Banana Republic),

PVH (which includes the brands Tommy Hilfiger and Calvin Klein), Lacoste, and Patagonia.

       39.     Esquel is not, and has never been, subject to ownership, control, or direction by the

Chinese government in any of its operations, either in mainland China or across the world.




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       40.     On the contrary, Esquel is run by U.S.-educated executive leadership with close ties

to the U.S. academic and trade communities. CEO Marjorie Yang, Chairman of Esquel since

1995, holds an MBA from Harvard Business School and a Bachelor of Science from Massachusetts

Institute of Technology (“MIT”). She serves on advisory boards at multiple U.S. academic

institutions and has been actively involved in trade commissions, such as the U.S.-China Joint

Commission on Commerce and Trade. In 2018, Yang received a Women of Influence Lifetime

Achievement Award from the American Chamber of Commerce in Hong Kong and was featured

as one of 24 “Faces of the United States-Hong Kong Relationship” in a publication celebrating the

175th anniversary of the U.S. Consulate General in Hong Kong.

       41.     Dr. John Cheh, Esquel’s Chief Executive Officer at the time the company was

listed, received a Bachelor’s Degree in Economics and Political Science from McGill University

and a Ph.D. in Economics from MIT. A Canadian citizen, Dr. Cheh served the Canadian

Government from 1974 to 1993. He started his career at the Canadian Government Treasury Board

and Privy Council Office in Ottawa and then served in economic and trade positions in Beijing,

Seoul, and Tokyo with Canada’s Department of External Affairs and International Trade,

including a position as the Executive Director of the Canada-China Trade Council from 1986 to

1988. From 1994 to 2003, Dr. Cheh served as President, Asia, of Bell Canada International and

then as President of Bombardier China before joining Esquel in 2003.

       42.     Esquel currently has manufacturing facilities in China, Sri Lanka, and Vietnam.

Esquel had two factories in Mauritius, but they were closed in November 2020 as a result of CJE’s

Entity List designation.

       43.     In 2019, prior to CJE’s designation, over 60% of Esquel’s garments were shipped

to the United States or to other countries under U.S. brands. Less than 25% of Esquel’s exports to



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the United States were manufactured in China. Rather, they were primarily manufactured in other

countries that host over half of Esquel’s workforce: Vietnam (over 13,200 workers as of December

2019), Sri Lanka (over 5,800 workers as of December 2019), and, until the factories were closed

in November 2020, Mauritius (over 4,100 workers as of December 2019).

       44.     Esquel has been a global leader in sustainable manufacturing and socially

responsible business operations since its founding. Since 2000, Esquel has been a founding

member and participant in the United Nations Global Compact (“UNGC”), the world’s largest

corporate sustainability initiative, which promotes universal human rights, labor, environment, and

anti-corruption principles. Esquel’s sustainability progress reports are accessible on the UNGC

website. Esquel Group of Companies, UNGC.7 Esquel Chairman and CEO Marjorie Yang is a

member of the High Level Steering Committee of UNGC’s “Platform on Sustainable

Infrastructure for the Belt and Road Initiative to Accelerate [Sustainable Development Goals].”

       45.     Esquel operates pursuant to the Esquel Workplace Code of Conduct, established in

2005 and last updated in September 2020, which mandates that all Esquel facilities safeguard

employee rights under national and international labor laws; requires that all Esquel facilities pay

“at least” the local minimum wage or the “prevailing industry wage, whichever is higher”;

prohibits all forms of forced labor, child labor, harassment, abuse, and discrimination; and requires

Esquel facilities to “comply with the legally mandated regular work hours or 48 hours per week,

whichever is less.”

       46.     Esquel contributes to initiatives designed to further sustainable and ethical textile

and apparel industry practices.     For example, since 2010, Esquel Garment Manufacturing




       7
             https://www.unglobalcompact.org/what-is-gc/participants/3456-Esquel-Group-of-
Companies (under “COP” tab).

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(Vietnam) Co. Ltd. has been a member of the Better Work program, a collaboration between the

United Nations’ International Labor Organization and the World Bank Group’s International

Finance Corporation with a mission to improve working conditions, labor rights, and

competitiveness in the apparel industry.

       47.     Esquel established a presence in Xinjiang in 1995 to launch spinning mills close to

the supply of high-quality Xinjiang cotton. Since then, Esquel has offered equal opportunity

employment to members of Uyghur and other ethnic minority groups on a non-discriminatory

basis. As of May 31, 2021, Esquel’s Xinjiang operations included two ginning mills and three

spinning mills employing approximately 1,000 employees (down from over 1,200 employees as

of July 31, 2020).

       48.     CJE, the entity Defendants named to the Entity List, was established in 2009 and

operates one of Esquel’s spinning mills in Xinjiang. CJE’s spinning mill is a state-of-the-art,

highly automated facility, operated by a relatively small group of highly skilled employees. As of

May 31, 2021, CJE employed 370 employees, of whom 27 are Uyghurs and 44 are other ethnic

minorities, including Hui people and Kazakhs.

       49.     Esquel has developed long-term, strategic partnerships with local Xinjiang farmers

and organizations to improve community services and enhance income stability and predictability

in the region. For example, from 2007 to 2014, Esquel partnered with Standard Chartered Bank

to provide millions of dollars in micro-financing as well as training on financial management and

sustainable farming practices to nearly 2,000 local farming households in Xinjiang facing seasonal

and uneven cash-flow challenges, with 100% repayment. Esquel used its own capital to run the

program until 2017.




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       50.     In 2003, Esquel established the Esquel-Y.L. Yang Education Foundation, which

has helped Xinjiang children gain access to educational opportunities.           Specifically, the

Foundation has refurbished schools, donated supplies, and provided education subsidies for over

4,400 primary students, as well as over 800 scholarships for high school students, a majority of

whom are Uyghur or other ethnic minorities. The Foundation’s summer learning program and

STEM training programs have helped to enhance the educational and career readiness of

over 1,600 local children since 2007. In 2012, Esquel launched a vision-screening program to help

improve the eyesight of the region’s youth in partnership with Hong Kong Polytechnic University

and local hospitals, providing over 12,000 students in remote areas with free eye examinations,

medical treatment, and over 2,700 pairs of eyeglasses to date. From 2012 to 2015, the Foundation

partnered with Novartis to provide resources and support to help over 200 schools in rural Xinjiang

develop a health education curriculum, reaching a total of 300,000 students.

       51.     Third parties have repeatedly recognized Esquel’s commitment to social

responsibility, including in Xinjiang. For instance, a 2010 case study by a Harvard University

professor and published by the Harvard Business School highlighted Esquel’s partnerships with

individual farmers and support of local communities in Xinjiang.

       Independent Audits of Esquel’s Practices

       52.     Independent, third-party audits have repeatedly confirmed the absence of forced

labor in CJE’s facility and Esquel’s facilities more broadly. In 2019, three sets of independent

third-party audits were conducted, each on a subset of Esquel’s facilities in Xinjiang, and each

concluded that there was no forced labor in any of the facilities. Four additional audits that took

place in 2020 and 2021 came to the same conclusion. All of these audits are described below.




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       53.     In May 2019—prior to Esquel’s designation on the Entity List—Hong Kong-

headquartered ELEVATE conducted an audit of CJE. ELEVATE, which is led by an American

CEO and is a global leader in corporate social responsibility compliance, was commissioned by

one of Esquel’s U.S. customers to perform a standard independent, third-party social and

environmental audit.    ELEVATE’s methodology included an on-site visit with extensive

observation and confidential interviews with randomly selected workers, including Uyghur and

other ethnic-minority employees. ELEVATE’s audit concluded that “[t]here was no evidence of

forced, bonded or prison labor and no evidence of coercion or exploitation”; “[a]ll employees

appeared to be recruited through legitimate channels that were not affiliated with any government

agency linked to training, education and vocational centers”; the “[t]erms and conditions of

employment were the same between majority and minority populations in the factories”; and

“[e]mployment duration, turnover, promotions, roles, titles, salaries and benefits all appeared to

be consistent between majority and minority populations.”

       54.     In October 2019, Esquel’s three spinning mills in Xinjiang—including CJE—were

independently audited by Netherlands-headquartered Control Union as part of the certification

process required to validate these mills’ compliance with the GOTS standard. GOTS certification

is contingent on satisfying environmental and social criteria, including adherence to International

Labor Organization standards that bar the use of forced labor, require safe and hygienic working

conditions and payment of living wages, and ban discrimination and harsh treatment. GOTS

certifications are renewed annually, subject to on-site inspection and certification by independent

and accredited third parties. Control Union’s October 2019 audit findings validated ongoing

compliance with GOTS standards at CJE and Esquel’s other spinning mills in Xinjiang, and Esquel

received the corresponding certificate of compliance in April 2020. Control Union also produced



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an audit report that does not identify any findings of non-compliance with the GOTS certification

criteria at Esquel’s spinning mills in Xinjiang, including at CJE.

       55.     In December 2019, Esquel’s two ginning mills in Xinjiang (not including CJE)

were audited by Bureau Veritas CPS (“Bureau Veritas”), a European auditor. Bureau Veritas’s

findings were consistent with the audit findings with respect to CJE in that the auditors identified

no evidence of forced labor or discrimination at the audited facilities.

       56.     In October 2020—after the Entity Listing—Control Union conducted a customer-

commissioned audit of CJE. During the audit, Control Union conducted confidential interviews

with 73 CJE employees, including all 68 ethnic minority employees then working at CJE, either

individually or in small groups of five to ten employees. The auditors indicated that all interviews

were conducted in private and that no hint of coaching was identified. Control Union found no

forced, prison, bonded, or involuntary labor; no evidence of discrimination in pay, working

conditions, or any other aspect of CJE’s operations; and no evidence of harsh or inhumane

treatment of workers. On the contrary, the audit report notes that CJE “treat[s] every worker with

respect and dignity.”

       57.     Two other customer-commissioned CJE audits occurred in October 2020. One was

conducted by a customer’s internal audit specialists. According to their report, the auditors

individually interviewed “almost all Uyghur[] employees and a majority of other minorities,” and

were “convinced that there was NO SIGN of Forced Employment or any other forced labor issues”

at CJE. The other audit report was prepared by an independent, third-party auditor, QIMA Limited

(“QIMA”), at the direction of another Esquel customer. QIMA interviewed 26 CJE workers,

including four ethnic minority workers, all of whom “spoke freely of their views of the facility.”




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QIMA did not identify any forced labor, child labor, or discrimination related to wages, benefits,

or working hours.

       58.     In May 2021, ELEVATE conducted another audit at Esquel’s three Xinjiang

spinning mills, including at CJE. The auditors spent a day onsite at CJE with a Uyghur language

translator. Twenty-six workers of different ethnicities were randomly selected from different

departments, including eight Uyghurs. ELEVATE’s audit concluded, among other things, that

“[t]he factory had established hiring policy and hiring procedures in place” that “prohibit[ed] using

. . . forced, bonded or involuntary prison labour”; “[a]ll workers were directly employed by factory

with no labour agent or broker used”; “[t]here was no unreasonable limitation on freedom of

movement”; and “[t]he workers could resign upon a reasonable notice period which w[as] in line

with local law requirements.”

       59.     In addition to external and customer audits, CJE is regularly audited through

Esquel’s Internal Audit and Corporate Social Responsibility departments. These audits have

identified no indicators of forced labor.

       60.     Esquel’s internal and external audits have been conducted with no local or Chinese

national government involvement or any requirement for Esquel to make audit results available to

the government.

       61.     In short, independent, third-party audits confirm the total absence of a basis for

CJE’s placement on the Entity List.

III.   Defendants Add CJE To The Entity List Without Any Basis In Fact And Fail To
       Respond To CJE’s Good-Faith Efforts To Access The Evidence Underlying Its
       Designation

       62.     On July 22, 2020, without notice or warning, Defendants placed CJE on the Entity

List with a single phrase of explanation: CJE, along with other companies, was allegedly



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“engaging in activities contrary to the foreign policy interests of the United States through the

practice of forced labor involving members of Muslim minority groups in the XUAR [Xinjiang

Uyghur Autonomous Region].” 85 Fed. Reg. at 44,159.

       63.     According to Defendants, “the conduct of” CJE and the other identified companies

“raises sufficient concern that prior review of exports, reexports or transfers (in-country) of all

items subject to the EAR involving these entities, and the possible imposition of license conditions

or license denials of shipments to these entities, will enhance BIS’s ability to prevent items subject

to the EAR from being used in activities contrary to the foreign policy interests of the United

States.” 85 Fed. Reg. at 44,160. ECRA provided the “legal basis” and “authority under which”

Defendants acted in placing CJE on the Entity List. Id.

       64.     This reed-thin justification for adding CJE to the Entity List was unaccompanied

by a whit of support. Defendants provided no evidence or reason to believe that CJE actually had

engaged in the practice of forced labor in Xinjiang.

       65.     Thus, Plaintiffs can only guess at potential sources for Defendants’ false allegation

that CJE is “engaging in . . . the practice of forced labor involving members of Muslim minority

groups in” Xinjiang.

       66.     One possible source is a 2019 Wall Street Journal article stating that Chinese

officials had “offer[ed]” Uyghur employees in Xinjiang to Esquel.8 But the Chinese government

has never made or coordinated Esquel hiring decisions. The article may have been referring to a

local Xinjiang government agency’s referral of Uyghur and other ethnic minority candidates for

job openings at a different Esquel factory, in Urumqi, Xinjiang. Between 2017 and 2018,


       8
        Eva Dou & Chao Deng, Western Companies Get Tangled in China’s Muslim Clampdown,
WALL ST. J. (May 16, 2019), https://www.wsj.com/articles/western-companies-get-tangled-in-
chinas-muslim-clampdown-11558017472.

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approximately 60 candidates were referred by the agency, and all were evaluated through Esquel’s

objective, merit-based recruiting protocol. The successful candidates were hired and trained in the

same way as other Esquel employees, and their compensation and benefits were the same. Of the

34 ultimately hired, several have since resigned from the company for voluntary reasons—for

instance, to take care of dependents—reflecting that all Esquel employees are free to choose to

leave the company.

       67.     Another possible source is a report from an Australian organization that cited the

same Wall Street Journal article and also stated that CJE participated in a county job fair in

Xinjiang.9 The report falsely implied that CJE participated in labor transfers within Xinjiang.

Participating in local job fairs—something Esquel does throughout the world—in no way amounts

to engagement in labor transfers or a forced labor scheme. At the fair identified in the report,

Esquel followed its standard merit-based recruitment procedures to hire the most qualified

candidates, and identified no indicia of forced participation by attendees. Of the candidates at the

fair to whom Esquel extended job offers, three were of Uyghur or Kazakh ethnicities, and Esquel

offered each a salary comparable to what other employees at CJE, including Han employees,

earned for similar positions. All three candidates accepted. Later, two Uyghur employees

voluntarily resigned.

       68.     Whatever the basis, Defendants made no attempt to solicit a factual response from

Esquel or to give it an opportunity to rebut the accusations before placing CJE on the Entity List.

Ironically, in the name of deterring forced labor and protecting ethnic Uyghurs, the prior




       9
         Vicky Xiuzhong Xu et al., Uyghurs For Sale, AUSTRALIAN STRATEGIC POLICY INST.
(Mar. 1, 2020), https://www.aspi.org.au/report/uyghurs-sale.

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administration apparently chose to impose crippling penalties on Esquel because it employed

ethnic Uyghurs.

       69.     Immediately following CJE’s designation on the Entity List, Esquel issued a public

statement denouncing the action, flatly denying any “evidence to support the allegations against

us on the use of forced labor in CJE,” and stating unequivocally that “[w]e absolutely have not, do

not, and will never use forced labor.” July 2020 Press Release, supra note 1. Esquel echoed those

statements in a letter to then-Secretary of Commerce Wilbur Ross. To this day, those statements

remain true: CJE (and Esquel more broadly) has never used, and will never use, forced labor.

       70.     Working with U.S. outside counsel, Esquel also immediately took steps to ensure

continued compliance with U.S. laws and regulations, including communicating with suppliers

and customers to clarify the scope of the Entity List restrictions. These steps were consistent with

Esquel’s longstanding adherence to applicable law in the various jurisdictions where it operates,

including U.S. law.

       71.     Esquel further sought to engage with the U.S. government to ascertain the bases for

Entity List designation and to clear up Defendants’ misapprehension regarding Esquel’s labor

practices. Esquel made clear that CJE would gladly submit to further independent audits and

unannounced site visits by U.S. government officials, including confidential interviews with ethnic

minority employees.

       72.     But Esquel has received no meaningful response to its queries regarding the basis

for its designation on the Entity List or any other substantive response from the U.S. government.

Meanwhile (as detailed below), Esquel’s operations worldwide continue to shed revenue and incur

reputational damage each day, to the severe detriment of its employees in several countries.




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IV.    CJE’s Addition To The Entity List Causes Immediate And Irreparable Harm

       73.     Defendants’ placement of CJE on the Entity List has worked severe irreparable

harm on Plaintiffs. These harms are ongoing and continually increasing. Plaintiffs will continue

to suffer from growing irreparable harm until Defendants remove CJE from the Entity List.

       74.     CJE’s placement on the Entity List had the immediate legal effect of imposing a

license requirement for all exports, reexports, and transfers (in-country) to CJE of items subject to

the EAR. CJE is no longer able to receive any U.S. items (whether sensitive or not) subject to the

EAR—from physical equipment and spare parts used in CJE’s spinning mill, to over-the-counter

consumer laptops and computers from Hewlett-Packard and other U.S. companies—unless the

U.S. exporter procures a license from BIS. Such license applications are subject to a “license

review policy of presumption of denial” for most items subject to the EAR with very limited

exceptions. 85 Fed. Reg. at 44,160.

       75.     Plaintiffs have also suffered immediate and drastic reputational damage. Following

the Trump Administration’s announcement of CJE’s designation, news articles immediately

reported that CJE had been “sanctioned” for human rights abuses. Major U.S. and international

outlets like, the New York Times, the Washington Post, Reuters, Axios, Business Insider, and Yahoo

News all covered the announcement, while highlighting Esquel’s major customers (like Ralph

Lauren, Tommy Hilfiger, Hugo Boss, Muji, Calvin Klein, and Nike). 10 The month after the


       10
          Swanson, supra note 2; Whalen, supra note 2; David Shepardson & Diane Bartz, U.S.
adds 11 firms to economic blacklist over China’s treatment of Uighurs, Reuters (July 20, 2020),
https://www.reuters.com/article/us-usa-china-human-rights/u-s-adds-11-firms-to-economic-
blacklist-over-chinas-treatment-of-uighurs-idUSKCN24L1XT; Bethany Allen-Ebrahimian,
Subsidiary of world’s largest shirtmaker put on U.S. blacklist over Xinjiang ties, AXIOS (July 21,
2020),     https://www.axios.com/hong-kong-shirtmaker-esquel-xinjiang-blacklist-uighur-forced-
labor-1c5c7226-6668-4a6b-88c1-c344a4f3dd8f.html; Sarah Al-Arshani, US says it will blacklist
11 Chinese companies accused of human rights abuses against Uighurs — including subsidiaries
of a company that ships coronavirus tests worldwide, BUS. INSIDER (July 21, 2020),


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designation, The Guardian published an article focused exclusively on the fact that Apple had

purchased uniforms from Esquel, “a company facing US sanctions over forced labour at a

subsidiary firm in China’s western Xinjiang region.”11

       76.     Unsurprisingly, as a result of CJE’s Entity List designation, numerous customers

have cut off their business with Esquel. For example, Michael Kors, Nike, Gap Inc. (Banana

Republic), PVH (i.e., Calvin Klein and Tommy Hilfiger), and other U.S. brands have discontinued,

or stated that they will pause or discontinue, doing business with Esquel. The French brand

Lacoste likewise decided to cease business with Esquel because of the Entity List placement.

Collectively, these customers represented hundreds of millions of dollars in revenue in 2019.

       77.     Esquel has also suffered losses caused by disruptions in its supply chain, including

the discontinuation of business with a U.S. cotton supplier, an Australian cotton supplier, a

Japanese supplier of textile machines and spare parts, a Swiss supplier of testing equipment and

spare parts, and two U.S. suppliers of computers and servers.

       78.     Further, Esquel has faced hardships in securing financing. For example, shortly

after CJE’s placement on the Entity List, a major bank revoked a previously approved loan facility

for Esquel as a result of CJE’s designation.

       79.     As a consequence of these business losses, in November 2020, Esquel was forced

to close its factories in Mauritius, costing thousands of employees their jobs (and costing Esquel

over ten million dollars in severance payments). The Mauritius factories had been making

products primarily for the U.S. market. In Sri Lanka, Esquel has had to take on subcontracting




https://www.businessinsider.com/us-blacklist-chinese-companies-over-xinjiang-human-rights-
abuses-2020-7; Tiffany Ap, Esquel Denies Forced Uighur Labor Claims, YAHOO! (July 21, 2020),
https://tinyurl.com/2dyma4av.
         11
            Graham-Harrison & Kirchgaessner, supra note 3.

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work and operate at half capacity in order to survive, with the incomes of Esquel’s Sri Lankan

workers negatively impacted. In China, the Entity List designation has reduced business at

Esquel’s spinning mills, left employees underutilized, resulted in a decrease in pay, and led to

voluntary departures.

       80.     Until CJE is removed from the Entity List, Esquel will be forced to consider further

closures and terminations on an ongoing basis, which will have immediate and irreparable harmful

effects on its employees and business operations.

       81.     Esquel Enterprises’s U.S. subsidiary, Esquel New York, has suffered substantial

irreparable harms resulting from CJE’s entity listing. Esquel New York’s work primarily supports

Esquel Enterprises’s U.S. customers. Between 2019 and 2020, largely as a result of CJE’s

designation and the drastic termination of business with multiple U.S. customers, Esquel New

York’s agency fee from Esquel Enterprises dropped by 77%, and its net income dropped by over

$1.2 million—the first time it has recorded a loss in at least six years.

       82.     The severe stigma associated with CJE’s placement on the Entity List has also

caused incalculable reputational damage to Plaintiffs, both in the United States and worldwide.

Among other severe impacts, American universities with which Esquel has a longstanding

association have responded to the Entity List designation by scaling back ties. In addition, a

publisher pressured a professor to drop a chapter on Esquel in a book about best-of-kind

companies, due to concerns over how the book would be perceived if Esquel were included in light

of CJE’s designation on the Entity List.

       83.     These and other incalculable economic and reputational harms that Plaintiffs have

incurred are ongoing and grow more damaging every day that CJE remains on the Entity List.




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                           STATEMENT OF CLAIMS FOR RELIEF

                                             COUNT I

    ULTRA VIRES AGENCY ACTION—ACTING IN EXCESS OF STATUTORY AND
                       REGULATORY AUTHORITY

                                      Against All Defendants

        84.     Plaintiffs reallege and incorporate by reference the allegations contained in all the

preceding paragraphs.

        85.     Defendants acted ultra vires and in excess of their statutory and regulatory authority

under the 2019 NDAA and associated regulations in issuing the July 2020 Notice that added CJE

to the Entity List.

        86.     Defendants’ decision to designate CJE on the Entity List was outside the agency’s

statutory authority under ECRA. That Act directs the Secretary of Commerce to “establish and

maintain a list of foreign persons and end-uses that are determined to be a threat to the national

security and foreign policy of the United States pursuant to the policy set forth in section

1752(2)(A).” 2019 NDAA, Pub. L. No. 115-232 § 1754(a)(2), 132 Stat. 1636, 2213 (codified at

50 U.S.C. § 4813(a)(2)). Section 1752(2)(A), in turn, explains that “[t]he national security and

foreign policy of the United States require” controlling the release of items for use in five specific

areas: “(i) the proliferation of weapons of mass destruction or of conventional weapons; (ii) the

acquisition of destabilizing numbers or types of conventional weapons; (iii) acts of terrorism; (iv)

military programs that could pose a threat to the security of the United States or its allies; or (v)

activities undertaken specifically to cause significant interference with or disruption of critical

infrastructure.” 2019 NDAA, Pub. L. No. 115-232 § 1752(2)(A), 132 Stat. 1636, 2210 (codified

at 50 U.S.C. § 4811(2)(A)).




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       87.     Defendants did not find, and have not alleged, that CJE or any other Plaintiff

engaged in any of the activities specified in Section 1752(2)(A). See 85 Fed. Reg. at 44,159.

       88.     Moreover, BIS regulations require that entities be added to the Entity List only after

the agency has found “specific and articulable facts” regarding the entities’ activities. 15 CFR

§ 744.11(b).

       89.     Defendants neither possessed nor offered any “specific and articulable facts”

demonstrating that CJE was engaged in the practice of forced labor in Xinjiang.

       90.     Accordingly, Defendants exceeded their statutory and regulatory authority, and

violated both ECRA and 15 CFR § 744.11 by adding CJE to the Entity List.

       91.     Plaintiffs are entitled to a judgment that the July 2020 Notice as it applies to CJE

was ultra vires, in excess of authority, and contrary to law.

                                            COUNT II

VIOLATION OF THE ADMINISTRATIVE PROCEDURE ACT—UNLAWFUL AGENCY
                             ACTION

                                      Against All Defendants

       92.     Plaintiffs reallege and incorporate by reference the allegations contained in all of

the preceding paragraphs.

       93.     The July 2020 Notice constitutes final agency action subject to judicial review

because it had immediate legal effects and consummated the agency’s decision-making process

with respect to CJE’s placement on the Entity List.

       94.     Defendants violated the APA by acting in excess of statutory and regulatory

authority and otherwise contrary to law by placing CJE on the Entity List for supposed human-

rights-related violations. As explained in Count I, supra, Defendants never found that CJE (or any

other Plaintiff) engaged in any of the activities specified in Section 1752(2)(A).

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        95.    Moreover, the sole basis Defendants gave for placing CJE on the Entity List—

alleged human-rights abuses—is entirely without record basis. Defendants failed to offer any

“specific and articulable” facts or other evidence that CJE (or any other Plaintiff) is actually

engaged in forced labor in Xinjiang, and failed to provide Plaintiffs with advance notice or a

sufficient opportunity to be heard regarding the listing.

        96.    Given that Defendants have not yet shared the basis of their decision to add CJE to

the Entity List or the evidence Defendants relied on, Plaintiffs may have additional grounds for

relief after review of the administrative record.

        97.    Defendants’ actions have caused, and will continue to cause, ongoing harm to

Plaintiffs.

                                            COUNT III

    VIOLATION OF THE DUE PROCESS CLAUSE OF THE FIFTH AMENDMENT

                                      Against All Defendants

        98.    Plaintiffs reallege and incorporate by reference the allegations contained in all of

the preceding paragraphs.

        99.    The Due Process Clause of the Fifth Amendment of the U.S. Constitution mandates

that no person “be deprived of life, liberty, or property, without due process of law.”

        100.   Plaintiffs are entitled to the process due under the U.S. Constitution due to their

significant U.S. presence and property interests, including U.S.-based Esquel New York.

        101.   Plaintiffs have constitutionally protected property and liberty interests in the United

States, including (i) a property interest in the economic viability of its subsidiary Esquel New York,

which has offices in New York and Seattle; (ii) property and liberty interests in Plaintiffs’ right to

conduct their business in the United States and with United States companies, free of arbitrary and



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unlawful government action; and (iii) a liberty interest in the reputation of Plaintiffs, including

Esquel New York.

       102.    Plaintiffs were entitled to constitutionally mandated due process prior to any

deprivation of their constitutionally protected interests. That process includes, at a minimum, the

right to notice of the basis for Defendants’ decisions and an opportunity to be heard, including an

opportunity to rebut whatever evidence on which the government relied.

       103.    Plaintiffs, however, were not afforded constitutionally sufficient process: they

were not provided with the evidentiary basis for CJE’s designation on the Entity List, and they

were not given an opportunity to rebut the determination reflected in the July 2020 Notice.

       104.    Defendants’ actions denied Plaintiffs their constitutional rights and caused

Plaintiffs significant and ongoing harm.

                                    PRAYER FOR RELIEF

       For those reasons, Plaintiffs respectfully request that this Court:

       (1)     declare that Defendants’ July 2020 Notice adding CJE to the Entity List is ultra

               vires, as well as unauthorized by, and contrary to, law;

       (2)     declare that Defendants acted in excess of authority, in violation of the Due Process

               Clause of the Fifth Amendment to the U.S. Constitution, and otherwise contrary to

               law when they added CJE to the Entity List;

       (3)     order Defendants immediately to produce the basis of the July 2020 Notice adding

               CJE to the Entity List, and whatever evidence upon which Defendants relied in

               making that determination, in the form of the administrative record;

       (4)     vacate and set aside the designation of CJE as a listed entity on the Entity List;




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      (5)    preliminarily and permanently enjoin Defendants from implementing or enforcing

             CJE’s Entity List designation;

      (6)    award Plaintiffs their costs and reasonable attorney fees; and

      (7)    grant such other and further relief as may be just and proper.




                                           Respectfully submitted,


                                              /s James E. Tysse
Dated: July 06, 2021                       James E. Tysse
                                            D.C. Bar No. 978722
                                           Caroline L. Wolverton
                                            D.C. Bar No. 496433
                                           Margaret O. Rusconi (admission pending)
                                            D.C. Bar No. 1719371

                                           Akin Gump Strauss Hauer & Feld LLP
                                           2001 K Street, N.W.
                                           Washington, D.C. 20006
                                           Telephone: (202) 887-4000
                                           jtysse@akingump.com

                                           Counsel to Plaintiffs Changji Esquel Textile Co. Ltd.,
                                           Esquel Enterprises Limited, and Esquel Apparel Inc.




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